         Case 2:20-cv-01971-RDP Document 206 Filed 10/07/24 Page 1 of 1                               FILED
                                                                                             2024 Oct-08 AM 08:20
                                                                                             U.S. DISTRICT COURT
                           UNITED STATES DISTRICT COURT                                          N.D. OF ALABAMA
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 MIDDLE DIVISION

  MARK DUKE, et al.,                             )
                                                 )
        Plaintiffs,                              )
                                                 )
  v.                                             )   Case No. 4:14-cv-01952-RDP
                                                 )
  JOHN HAMM, et al.,                             )
                                                 )
         Defendants.                             )


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                       }
                                                 }
 Plaintiff,                                      }
                                                 }
 v.                                              }   Case No.: 2:20-CV-1971-RDP
                                                 }
 STATE OF ALABAMA, et al.,                       }
                                                 }
 Defendants.                                     }

                                            ORDER

       These cases are before the court on the State’s Motion for Clarification. On October 7,

2024, the court conducted a status conference during which the Motion for Clarification was

discussed. As discussed at the status conference, nothing in the court’s protective orders entered

in these cases should be read as a bar to the production of documents in Judge Axon’s Ezell and

Guy cases. The Clerk of Court is directed to terminate the pending Motions to Clarify.

       DONE and ORDERED this October 7, 2024.



                                             _________________________________
                                             R. DAVID PROCTOR
                                             CHIEF U.S. DISTRICT JUDGE
